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                                 LTNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO. 24.MJ-02479-LMR

  United States of America

                   Plaintiff,

  vs.

  Dan Rofta

                   Defendant




                       WAIVER OF APPEARANCE AT ARRAIGNMENT

          Pursuant to Federal Criminal Rule of Criminal Procedure l0(b), Dan Rotta, through the

below signed waiver, waives his appearance at the arraignment scheduled for March 25,2024, ar

 l0 am.

          In support, Dan Rotta states the following: I, Dan Rotta, have received a copy of the

indictment in this matter. I waire my uppaurdnce at arroignment. I allirn that my plea is not

guilty.

          Therefore, Dan Rotta requests that, pursuant to Federal Rule of Criminal Procedure

 l0(b), the Court accept this waiver, waive his appearance at the arraignment and enter a not

guilty plea.




Dan Rotta
Def'endant                                                                      Rotta
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oated: MarchJl .2024                      Respectf ully submitted,


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